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                           IN THE UNITED STATES DISTRICT                       OURT
                                NORTHERN DISTRICT OF TEXA
                                                                                            DEC 1 9 2018
                                    FORT WORTH DIVISION
                                                                                    CLERK, U.S. DISTRICT COURT
TIMOTHY c. YOAKUM,                                     §
                                                                                       Dy         Deputy
                                                       §
                  Plaintiff,                           §
                                                       §
vs.                                                    §    NO. 4:18-CV-127-A
                                                       §
SABRE GLBL,             INC.,                          §
                                                       §
                  Defendant.                           §


                                 MEMORANDUM OPINION AND ORDER

        Came on for consideration the motion of defendant, Sabre

GLBL Inc.,          for summary judgment. The court, having considered the

motion, the response of plaintiff, Timothy C. Yoakum, the reply 1 ,

the record, and applicable authorities,                              finds that the motion

should be granted.

                                                      I.

                                         Plaintiff's Claims

        On February 1, 2018, plaintiff filed his complaint in this

action. Doc.' 1. He alleges that he was discriminated against by

defendant on the basis of his race and sex.' He asserts causes of

action for race and sex discrimination under 42 U.S.C.                                           §§   2000e




        'The court need not consider the supplemental appendix in support of the reply.
        2
            The "Doc.    "reference is to the number of the item on the docket in this action.

         'Plaintiff confusingly refers to "sex/gender" making it difficult to determine what he is really
alleging. See, e.g., Doc. l, ~ 61.
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to 2000e-17   ("Title VII"), 42 U.S.C. § 1981 ("§ 1981"), and

Chapter 21 of the Texas Labor Code ("Chapter 21").

                                    II.

                         Grounds of the Motion

     Defendant maintains that plaintiff cannot prevail on any of

his claims. Specifically:

     A sex discrimination claim is not cognizable under           §   1981.

Plaintiff cannot pursue his claims under Chapter 21 since the

Texas Workforce Commission did not ever receive his charge. Those

claims are time-barred in any event. Any claims based on events

that occurred more than 300 days before plaintiff filed his EEOC

charge are time-barred. Even if not time-barred, plaintiff cannot

prevail on his discrimination claims because he cannot establish

a prima facie case of discrimination. And, he cannot establish

constructive discharge. Even if plaintiff could make a prima

facie case, he cannot overcome defendant's articulated

legitimate, non-discriminatory reasons for its actions. And,

respondeat superior is not a cause of action.

                                   III.

               Applicable summary Judgment Principles

     Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim or defense

if there is no genuine dispute as to any material fact and the


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movant is entitled to judgment as a matter of law.               Fed. R. Civ.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986) .     The movant bears the initial burden of pointing out to

the court that there is no genuine dispute as to any material

fact.      Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).

The movant can discharge this burden by pointing out the absence

of evidence supporting one or more essential elements of the

nonmoving party's claim,            "since a complete failure of proof

concerning an essential element of the nonmoving party's case

necessarily renders all other facts immaterial."               Id. at 323.

Once the movant has carried its burden under Rule 56(a), the

nonmoving party must identify evidence in the record that creates

a genuine dispute as to each of the challenged elements of its

case.      Id. at 324; see also Fed. R. Civ. P. 56(c)          ("A party

asserting that a fact                  is genuinely disputed must support

the assertion by                  citing to particular parts of materials in

the record           • fl )   •   If the evidence identified could not lead

a rational trier of fact to find in favor of the nonmoving party

as to each essential element of the nonmoving party's case, there

is no genuine dispute for trial and summary judgment is

appropriate.     Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 597            (1986).   In Mississippi Prat. & Advocacy

Sys., Inc. v. Cotten, the Fifth Circuit explained:


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         Where the record, including affidavits,
         interrogatories, admissions, and depositions could not,
         as a whole, lead a rational trier of fact to find for
         the nonmoving party, there is no issue for trial.

929 F.2d 1054, 1058 (5th Cir. 1991).

         The standard for granting a motion for summary judgment is

the same as the standard for rendering judgment as a matter of

law. 4       Celotex Corp., 477 U.S. at 323.                   If the record taken as a

whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.

Matsushita, 475 U.S. at 597; see also Mississippi Prat. &

Advocacy Sys., 929 F.2d at 1058.

                                                  IV.

                                       Undisputed Facts

         The summary judgment evidence establishes:

         Plaintiff is a Caucasian male. Doc. 1, , 1. Plaintiff worked

for defendant from 1998 until December 2001, when he was laid

off. Doc. 19 at APP 5. He was re-employed by defendant

approximately three years later, in 2004. Id. In 2015 and 2016,

plaintiff's title was "Principal Named Accounts." Id. He

described his duties as selling the accounts and managing the

accounts. Id. His duties included coordinating with various



         4
          ln Boeing Co. v. Shipman, 411 F.2d 365, 374-75 (5th Cir. 1969) (en bane), the Fifth Circuit
explained the standard to be applied in determining whether the court should enter judgment on motions
for directed verdict or for judgment notwithstanding the verdict.

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functions within the company to ensure customer requests were

handled appropriately and in a timely manner.         Id. at APP 6.

Plaintiff's compensation consisted of salary and bonus. Id.

Plaintiff reported to Chris Wilding, a Caucasian male, until

2014, when Wilding was promoted to Senior Vice President of Sales

Management. At that point, Chad Tibor, a Caucasian male, became

plaintiff's supervisor. Tibor reported to Wilding. Id. at APP 7,

APP 43.

     Plaintiff's 2015 year-end performance review reflected that

although plaintiff met or exceeded his goals for the year, he did

not measure up with regard to defendant's values. Doc. 19 at APP

59-65. Plaintiff needed to make significant improvements in the

areas of dependability, punctuality, and organization. Id. at APP

64. He was regularly late to calls and meetings and demonstrated

a lack of urgency when required. Internal complaints had been

lodged, as well as customer complaints. Id. Accordingly,

plaintiff received a rating of "partially successful" as his

overall performance rating. Id. at APP 65. Plaintiff was not

awarded any discretionary stock options and his bonus was lower

than it had been in the previous two years. Id. at APP 44.

     Plaintiff spoke with a male Caucasian colleague who got a

larger bonus than in prior years. Doc. 19 at APP 11. Defendant

awarded discretionary stock options to Rowena Capili because she


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had demonstrated outstanding performance and received a rating of

"highly successful" on her 2015 year-end performance review. Id.

at APP 44, APP 69-76. Capili was an account manager for the

operational side of the business. Id. at APP 7. She had a

different role than plaintiff. Id. at APP 6.

     In August and September 2016, Tibor requested plaintiff to

work in the office during normal business hours instead of

working from home. Doc. 19 at APP 18, APP 43-44. Tibor believed

that if plaintiff was in the off ice some of the costly delays in

getting information could be avoided. Id. at APP 53. Plaintiff

believed Tibor made a second set of rules just for him, since

"nobody else [had]   to come into the office five days a week 9:00

to 5: OO." Doc. 24 at R. App. 12. Capili was allowed to work from

Houston two weeks out of every month. Id. at R. App. 13.

     In February 2017, Tibor put plaintiff on a performance

improvement plan ("PIP"). Doc. 19 at APP 44, APP 78-79.            The PIP

identified specific areas that plaintiff needed to address, e.g.

not being responsive to clients and failing to meet deadlines.

Id. at APP 78. The PIP gave plaintiff thirty days to improve his

performance. Id. at APP 79. The first working day after receiving

the PIP, plaintiff submitted his written resignation. Id. at APP

44, APP 81.




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                                                    v.
                                               Analysis

        The same analysis applies to claims under Title VII and

§   1981. 5 Shackelford v. Deloitte & Touche, L.L.P., 190 F.3d 398,

403-04 n.2         (5th Cir. 1999). To establish a prima facie claim for

discrimination plaintiff must show that:                            (1) he is a member of a

protected group;             (2) he was qualified for the position at issue;

(3) he suffered an adverse employment action by his employer; and

(4) he was replaced by someone outside the protected group or was

treated less favorably than other similarly situated employees.

McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th Cir. 2007).

An adverse employment action is an ultimate employment decision.

Felton v. Polles, 315 F.3d 470, 486                         (5th Cir. 2002). Ultimate

employment decisions include hiring, firing, demoting, promoting,

granting leave, and compensating. Thompson v. City of Waco, 764

F.3d 500, 503          (5th Cir. 2014). An employer's action does not rise

to the level of adverse if it fails to have more than a

tangential effect on a possible future ultimate employment

decision. Mota v. Univ. of Tex. Houston Health Sci. Ctr., 261

F.3d 512, 519 (5th Cir. 2001). For example, placing an employee

on a performance improvement plan is not an adverse employment


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         The same analysis also applies to claims under Chapter 21. Shackelford v. Deloitte & Touche,
L.L.P., 190 F.3d 398, 403-04 n.2 (5th Cir. 1999). As discussed, infra, plaintiff concedes that he cannot
pursue his Chapter 21 claims.

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action. Turner v. Novartis Pharms. Corp., 442 F. App'x 139, 141

(5th Cir. 2011).

     Plaintiff argues that the facts of his case are

distinguishable from those of Turner. But, he fails to point to

evidence to establish a genuine fact issue as to any adverse

employment action. Plaintiff's receipt of a smaller bonus than in

prior years was not connected to his PIP; nor was his failure to

receive stock options. Those events were tied to his 2015

performance review, which took place a year before the PIP.

Further, plaintiff has nothing but his own speculation to support

the contention that the PIP invariably would have resulted in his

termination. Plaintiff resigned instead of making any effort

whatsoever to improve his performance or even address what he

considered to be unjust requirements. His allegations regarding

receiving a review by telephone rather than in person, being

informed about a reorganization that never occurred, and being

required to work in the office instead of from home do not amount

to ultimate employment actions. See, e.g., Allbritain v. Texas

Dep't of Ins., No. A-12-CA-431-SS, 2014 WL 272223, at *4           (W.D.

Tex. Jan. 23, 2014) (denial of participation in telecommuting is

not an adverse employment action); Thomas v. Napolitano, No.

3:10-CV-265-B, 2013 WL 12250942, at *18 (N.D. Tex. Jan. 15,




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2013) (failure to receive notification via normal methods is not

an adverse employment action)

     Plaintiff alleges that he was constructively discharged,

which is an adverse employment action. Doc. 23 at 13-14. But, to

establish a claim for constructive discharge, plaintiff must show

that his working conditions were so intolerable that a reasonable

employee would have felt compelled to resign. Green v. Brennan,

136 s. Ct. 1769, 1776 (2016); Faruki v. Parsons S.I.P., Inc., 123

F.3d 315, 319 (5th Cir. 1997), Discrimination alone is not

enough; nor is mere failure to promote. Brown v. Kinney Shoe

Corp., 237 F.3d 556, 566 (5th Cir. 2001). Constructive discharge

requires a greater degree of harassment than required to

establish a hostile work environment (as discussed infra), Id.

Here, there is simply no evidence to support the contention that

a reasonable person in plaintiff's position would have been

compelled to resign.

     Even assuming plaintiff could point to any adverse

employment action, he has not shown that he was treated

differently from any similarly situated employee. The summary

judgment evidence establishes that Capili had a better

performance review. And, plaintiff himself testified that her job

duties were not the same as his. He also testified that a male

employee received a bigger bonus than in prior years. And he


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testified that he was the only one required to work in the office

five days a week. In sum, plaintiff has not made, and cannot

make, a prima facie case of discrimination of any kind. Merely

disputing his performance assessment by defendant is not enough.

Arey v. Watkins, 385 F. App'x 401, 404       (5th Cir. 2010).

     To prove his claim for hostile work environment, plaintiff

must show:   (1) plaintiff belongs to a protected group;        (2) he was

subjected to unwelcome harassment;      (3) the harassment was based

on his protected status;    (4) the harassment affected a term,

condition, or privilege of employment; and,        (5) defendant knew or

should have known about the harassment and failed to take prompt

remedial action. Ramsey v. Henderson, 286 F.3d 264, 268          (5th Cir.

2002). To be actionable, the harassment must be both objectively

and subjectively offensive. Harvill v. Westward Communications,

L.L.C., 433 F.3d 428, 434    (5th Cir. 2005). It must be

sufficiently severe or pervasive to alter the conditions of

plaintiff's employment and create an abusive work environment.

Harris v. Forklift Systems, Inc., 510 U.S. 17, 21 (1993). Factors

considered include the frequency of the conduct, its severity,

whether the conduct was physically threatening or humiliating or

a mere offensive utterance, and whether it unreasonably

interfered with the employee's work performance. Faragher v. City

of Boca Raton, 524 U.S. 775, 787-88      (1998). The Supreme Court has


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"made it clear that conduct must be extreme to amount to a change

in the terms and conditions of employment." Id. at 788.

        The summary judgment evidence establishes that this is not

the type of case where it could be said that the alleged

harassment was so severe or pervasive as to alter a condition of

plaintiff's employment. 6 See, e.g., E.E.O.C. v. Bah Bros. Constr.

Co., L.L.C., 731 F.3d 444                    (5th Cir. 2013); E.E.O.C. v. WC&M

Enters.,       Inc., 496 F.3d 393              (5th Cir. 2007). In fact,                 the court

is satisfied that this claim is frivolous.                             Plaintiff does not

point to any evidence that even establishes the nature of the

hostility he claims existed. There is no evidence that race

played any role. His claim of sexual discrimination appears to be

based solely on his speculation that Capili was conspiring with

Tibor to harm plaintiff. See, e.g., Doc. 24 at R. App. 6-7, 24

(assuming "[s]he was sabotaging my work" refers to Capili), 25-

26, 27. And, there is no evidence of the existence of a hostile

work environment of the type that would support a claim at all.

        Plaintiff does not dispute that sex discrimination claims

are not cognizable under                 §   1981. Doc. 23 at 6-7. See Bobo v. ITT,




        6
          Plaintiff could recall only one instance when Tibor yelled at him. Doc. 24 at R. App. 16. He also
referred to inflammatory emails, but provided no example. Id. He testified that he felt humiliated on one
occasion (unspecified in time) when Wilding came over to where plaintiff was sitting and two other men
were standing and said, "Hello, men," and then said, "Oh, and Tim." Id. at R. App. 30-31.

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Continental Baking Co., 662 F.2d 340, 342-45         (5th Cir. 1981);

Eure v. Sage Corp.,    61 F. Supp. 3d 651, 660      (W.D. Tex. 2014).

      Plaintiff also agrees that he cannot proceed with his claims

under Chapter 21, since the EEOC failed to transmit his charge of

discrimination to the Texas Workforce Commission. Doc. 23 at 7-8.

See Urrutia v. Valero Energy Corp., 841 F.2d 123, 125 (5th Cir.

1988); Cooper v. Texas Wesleyan Univ., No. 05-09-00347-CV, 1999

WL 1179613, at *3-4    (Tex. App.--Dallas Dec. 15, 1999, pet.

denied) .

     The court need not address other grounds of the motion, such

as limitations, even though they have merit. There is simply no

evidence of any genuine issue of material fact for trial.

                                   VI.

                                  Order

     The court ORDERS that defendant's motion for summary

judgment be, and is hereby, granted, that plaintiff take nothing

on his claims against defendant, and that such claims be, and are

hereby, dismissed.

     SIGNED December 19, 2018.




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